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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)              ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                                  UNITED STATES DISTRICT COURT
                                                                                                                 LODGED
                                                             for the                                      CLERK, U.S. DISTRICT COURT




                                                                                                          8/21/2023
                                                  Central District of California
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                      jb
                                                                                                        BY: ____________BB______ DEPUTY


 United States of America
                                                                                                                               FILED
                                                                                                                      CLERK, U.S. DISTRICT COURT

                   v.
                                                                                                                      August 21, 2023
 JOBSON MARANGONI DE CASTRO,                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                               CLD
                                                                       Case No.      2:23-mj-04267-duty
                                                                                                                     BY: ___________________ DEPUTY

  aka “Jobs Marangoni,”
   aka “Brazil Jobs,”

                   Defendant


                                CRIMINAL COMPLAINT BY TELEPHONE
                               OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the dates of May 10, 2023 to May 18, 2023, in the county of Los Angeles in the Central District of

California, the defendant violated:

           Code Section                                                Offense Description

           18 U.S.C. § 2314                                            Interstate Transportation of Stolen
                                                                       Property

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                       /s/ Gary Wallace
                                                                                    Complainant’s signature

                                                                            Gary Wallace, FBI Special Agent
                                                                                 Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:              August 21, 2023
                                                                                          Judge’s signature

 City and state:        Los Angeles, California                              Hon. Alka Sagar, U.S. Magistrate Judge
                                                                                       Printed name and title
AUSA: Sarah S. Lee (x7407)
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                               AFFIDAVIT

I, Gary Wallace, being duly sworn, declare and state as follows:

                       I. PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint against and arrest warrant for Jobson Marangoni DE

CASTRO (“DE CASTRO”), for a violation of 18 U.S.C. § 2314:

Interstate Transportation of Stolen Property (“Subject

Offense”).

     2.      This affidavit is also made in support of an

application for a warrant to search the person of DE CASTRO as

described more fully in Attachment A.

     3.      The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

the Subject Offense, as described more fully in Attachment B.

Attachments A and B are incorporated herein by reference.

     4.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrants and does not purport to set forth all of my knowledge

of or investigation into this matter.       Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only, and

all dates and times are on or about those indicated.
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           II. BACKGROUND OF SPECIAL AGENT GARY WALLACE

     5.   I am a Special Agent (“SA”) with the FBI, and have

been so employed since May 2017.      I am presently assigned to the

Los Angeles Field Office, where I am responsible for

investigating violent crimes, including bank robberies and

burglaries, extortion, kidnappings, interstate transportation of

stolen property, and other violations of federal statutes. As a

Special Agent, I have received extensive training regarding

federal criminal law. I completed 21 weeks of training at the

FBI Academy located at Quantico, Virginia, where I received

training in federal robbery and theft-related laws,

identification and investigation of criminals, and various

surveillance and investigative techniques related to violations

of federal law. I regularly refer to these laws during the

course of my duties and have written and participated in the

execution of several state and federal search and arrest

warrants in violation of these laws.

     6.   During the course of my employment with the FBI, I

have participated in investigations that employed various

investigative techniques, including witness interviews, review

of video surveillance, and collection of physical evidence.

Through my training, experience, and interaction with other law

enforcement officers, I am familiar with the methods employed by

burglars to gain unlawful access to various locations in order

to steal valuable possessions and then transport them for hiding

or sale to third parties. I am also familiar with how criminals

use digital devices to facilitate and conceal their crimes.


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                    III. SUMMARY OF PROBABLE CAUSE

     7.     DE CASTRO stole over $1.8 million of jewelry,

clothing, and accessories from Victims L.B.C.L. (“Victim 1”) and

L.C.L. (“Victim 2”), and then traveled to another state to sell

the stolen goods.

     8.     On May 10, 2023, the Victims were staying in a hotel

in Beverly Hills to attend an event.       As discussed further

below, substantial evidence -– including surveillance video

footage -- shows DE CASTRO went to the Victims’ hotel, tricked

an employee into giving him a key to the Victims’ room, and

stole six suitcases from the Victims.       The suitcases were full

of jewelry, clothing, and accessories, worth over $1.8 million.

     9.     Approximately one week later, on May 18, 2023, DE

CASTRO traveled to a jewelry store in Miami, Florida, and sold

some of the stolen jewelry, claiming they belonged to his late

mother.    DE CASTRO later received a wire of $50,000 for selling

some of the stolen jewelry.     After he received the wire, he told

the jewelry store, “I’m very happy.”

                    IV. STATEMENT OF PROBABLE CAUSE

     10.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.     May 5, 2023: The Victims Travel to Beverly Hills, CA

     11.    On Friday, May 5, 2023, Victim 1 and Victim 2,

residents of Brazil, traveled together to Beverly Hills,

California.   The Victims visited Beverly Hills to attend a

fashion event scheduled for May 9, 2023.        During their trip, the


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Victims stayed at The Peninsula Beverly Hills hotel (“the

PENINSULA HOTEL”), located at 9882 South Santa Monica Boulevard,

Beverly Hills, CA 90212.     The Victims were the sole guests

checked into Room 222 and were scheduled to check out on May 12,

2023.

        12.   The Victims traveled with several suitcases, which

contained their possessions including jewelry and designer

fashion items.     The Victims placed several Apple AirTags inside

of several of their suitcases.      During their trip, the Victims

did not provide their hotel room number to anyone else.

        B.    May 9, 2023: DE CASTRO Dines At the Hotel Bar and
              Bills the Victims’ Room

        13.   From my review of video surveillance footage from the

PENINSULA HOTEL and conversations with law enforcement officers,

I am aware of the following facts.

        14.   On May 9, 2023, at approximately 6:34 p.m., DE CASTRO

took an Uber to the PENINSULA HOTEL.       While at the hotel, DE

CASTRO dined at the hotel bar.      After his meal, DE CASTRO

fraudulently charged the bill to the Victims’ room, by writing

Room 222 and the names of Victim 1 and Victim 2 on the receipt.

At approximately 8:00 p.m., DE CASTRO left the hotel in another

Uber.

        15.   Based on information the Victims provided to law

enforcement, the Victims do not know DE CASTRO and never gave

him authority to use or sign their names or charge services to

their room.




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     C.    May 10, 2023: DE CASTRO Steals Six Suitcases from the
           Victims’ Hotel Room

     16.   From my review of video surveillance footage from the

PENINSULA HOTEL, review of investigative reports, and

conversations with law enforcement officers, I am aware of the

following facts:

     17.   On May 10, 2023, at approximately 5:55 p.m., DE CASTRO

returned to the PENINSULA HOTEL in another Uber.         At

approximately 6:07 p.m., DE CASTRO walked up to the front desk

of the hotel and spoke with a front desk clerk.         DE CASTRO

fraudulently claimed he was a guest staying in Room 222 and he

had left his key and personal items in the room.         After asking

security questions, which DE CASTRO was able to answer, the

clerk gave DE CASTRO a key to Room 222.

     18.   After obtaining the key, DE CASTRO walked to Room 222,

knocked on the door, and used the door key to enter the room.

When DE CASTRO entered the room, Victim 1 was not in the room

but Victim 2 was asleep inside of the room.        DE CASTRO left the

room after about 15 seconds and exited the second floor through

the staircase.   At approximately 7:07 p.m., DE CASTRO left the

hotel in another Uber.     At approximately 7:40 p.m., the Victims

left their room for dinner.

     19.   At approximately 8:16 p.m., DE CASTRO returned to the

hotel in another Uber.     After walking around the hotel for a

period of time, he walked upstairs to Room 222.         While in front

of the door, he looked around and leaned towards the door.           He

then opened the door and entered the room.        This time, neither




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victim was inside.     Approximately one minute after DE CASTRO

entered the room, he began to roll suitcases out of the room

into the hallway until all six of the Victims’ suitcases were

out of the room.     The six suitcases consisted of five dark

colored suitcases and one smaller silver suitcase.

     20.    DE CASTRO rolled the suitcases into an empty elevator.

Inside of the elevator, DE CASTRO put his head down and appeared

to be looking at this phone.




     21.    After the elevator doors opened on the first floor, an

unknown female who had been waiting for the elevator saw DE

CASTRO with the suitcases and helped him roll them out of the

elevator.   After DE CASTRO and all of the suitcases were out of

the elevator, she went inside the elevator.

     22.    After leaving the elevator, DE CASTRO again looked at

his cell phone and then rolled two of the suitcases to the front

door and approached a hotel employee.       The hotel employee then


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assisted DE CASTRO with moving all six suitcases outside to the

valet area of the hotel.

        23.    Once outside with the suitcases, DE CASTRO directed

the employee to another Uber that had driven into the valet

area.    The employee loaded all six suitcases into the rear cargo

area of the Uber.      DE CASTRO then entered the rear driver-side

seat of the Uber and it drove away from the valet area.

        24.    Later that same evening, at approximately 9:30 p.m.,

the Victims returned to their hotel room.        They discovered that

all six of their suitcases, and all of their possessions inside

of those suitcases, were missing.      Victim 1 called the hotel

front desk and reported the missing items.        The hotel staff then

contacted the BHPD and reported the alleged burglary and theft.

        D.     BHPD Responds to the Burglary Report

        25.    BHPD Patrol Officers responded to the PENINSULA HOTEL

and spoke with the Victims and hotel employees.         The Victims

reported that approximately $500,000 of jewelry (including

necklaces, bracelets, earrings and rings) and approximately

$300,000 of clothing and shoes were taken from their room.           The

Victims did not grant anyone permission to enter their room or

take their belongings, and they did not know who committed the

crime.       The Victims were shown surveillance video footage from

the hotel that showed DE CASTRO, but they did not recognize DE

CASTRO.

        26.    The Victims conducted an inventory of their items and

reported the following items as stolen, along with their initial

estimated value:



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            a.   Five black Tumi suitcases, worth $5,000;

            b.   One silver Rimowa carry-on bag, worth $1,000;

            c.   One Flavia Vetorasso diamond necklace, worth

$200,000;

            d.   Miscellaneous jewelry, worth $300,000;

            e.   One white Chanel dress, embroidered silk

Jacquard, worth $14,900;

            f.   Miscellaneous clothing and shoes, worth $285,100;

and

            g.   Victim 1’s Passport.

      27.   The total initial estimated value of the Victims’

stolen property was $806,000.

      28.   The Victims’ son, T.C.L., tracked the GPS location of

the Apple AirTags that were in the suitcases and provided the

GPS location information to the BHPD.        The location data showed

the AirTags were in an area near South Rodeo Drive and Olympic

Boulevard in Beverly Hills.     On May 11, 2023, BHPD officers

located two AirTags on the north side of the property at 420

South Rodeo Drive, Beverly Hills, CA.

      E.    The Victims Provide Additional Information about the
            Stolen Items

      29.   On or about June 7, 2023, the Victims’ attorney

provided BHPD with a comprehensive inventory and appraisal for

most of Victim 1’s stolen jewelry.         The inventory and appraisal

was completed by Flavia Vetorasso Sciarra (hereinafter “FVS”),

an internationally acclaimed jewelry designer and expert of

gemstones and diamonds.     The inventory listed nine items,




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including a white gold multi-shape diamond necklace, with a

total of 35.24 carat diamonds (“the DIAMOND NECKLACE”).           The

DIAMOND NECKLACE had an appraised value of $395,000.

Additionally, the Victims’ attorney provided an image of the

DIAMOND NECKLACE and stated that it was a custom-made necklace.

The total appraised value of all of the stolen FVS jewelry was

$1,479,000.

      30.   The Victims’ attorney also provided BHPD with a

Certificate of Origin and appraisal for another item of Victim

1’s stolen jewelry that was not from FVS.         The certificate was

completed by the Swiss luxury watch manufacturer, Chopard.           The

certificate was for one white gold Chopard L’Heure du Diamant

watch (“the WATCH”).     The appraisal was completed by a Chopard

retailer, and the watch had an appraised value of 81,200 euros

(approximately $89,400).

      31.   The Victims’ attorney also informed BHPD that a later

assessment of the Victims’ stolen clothing items, which was

initially estimated to be $300,000, was estimated at $270,215.

Based on the appraisals and the updated estimates, the total

calculated value of the stolen property, not including the

suitcases themselves, was $1,838,615.

      F.    BHPD Investigates DE CASTRO’s Uber Rides To and From
            the PENINSULA HOTEL

      32.   During the course of its investigation, the BHPD

searched the CA Department of Motor Vehicles (“DMV”) database

for records of the different cars that drove DE CASTRO to and

from the PENINSULA HOTEL on May 9, 2023 and May 10, 2023.




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Through its investigation, BHPD determined that the cars were

driven by Uber drivers.

      33.    On May 24, 2023, the Honorable Stacy Wiese, Los

Angeles Superior Court Judge, signed a state search warrant

issued to Uber requesting electronic records and other

information related to the investigation.         In response, Uber

provided records for two rides, one on May 9, 2023 and one on

May 10, 2023, both taken by DE CASTRO.        The Uber records for

both rides included personal information of the customer,

including the display name “Jobs Marangoni” and a profile

photograph.

      34.    Based on my review of the profile photograph, I

believe it matches the appearance of DE CASTRO in the

surveillance video footage from the PENINSULA HOTEL, though the

Uber profile photograph appears to be an older photograph of DE

CASTRO.

      35.    The Uber records for the May 9, 2023 ride were

consistent with the time that DE CASTRO was dropped off at the

PENINSULA HOTEL the day before he stole the suitcases.           The

records show a pick up time of 6:26 p.m., a drop off time of

6:34 p.m., and GPS coordinates for the pick up and drop off

locations.    The GPS coordinates show that DE CASTRO was picked

up in Beverly Hills on South Rodeo Drive, just south of Olympic

Boulevard.    They also show that DE CASTRO was dropped off in

front of the PENINSULA HOTEL.

      36.    The Uber records for May 10, 2023 ride were consistent

with the second time DE CASTRO was dropped off at the PENINSULA



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HOTEL on that day to steal the suitcases.         The records show a

requested pick up time of 8:04 p.m. and GPS coordinates for the

rider’s location at the time of the ride request and the actual

pick-up location.     The GPS coordinates show DE CASTRO was in

front of 401 South Rodeo Drive, Beverly Hills, CA at the time of

the request and DE CASTRO was dropped off in front of the

PENINSULA HOTEL.     The Uber records also show that at the drop-

off time of this ride, DE CASTRO’s device had an IP address

associated with the Internet Service Provider “The Peninsula

Hotel.”

      G.     BHPD Identifies DE CASTRO

      37.    After receiving the records from Uber, the BHPD

searched department databases for the name “Jobs Marangoni.”

Through the search, the BHPD found a possible match of Jobson

Marangoni DE CASTRO.     The BHPD searched the CA DMV database for

DE CASTRO and obtained personal information of DE CASTRO,

including his DMV photograph and an address of 401 South Rodeo

Drive, Apartment B, Beverly Hills, CA 90212.         I have viewed DE

CASTRO’s CA DMV photograph and believe it matches the appearance

of DE CASTRO in the surveillance footage from the PENINSULA

HOTEL.     Using open source databases, I investigated DE CASTRO’s

CA DMV-listed address.      I learned that the address was in a

residential apartment complex just south of the cross street

Olympic Boulevard.

      38.    The address for DE CASTRO’s pick-up location for his

Uber rides on May 9, 2023 and May 10, 2023 corresponded to DE

CASTRO’s CA DMV-listed address.       Further, DE CASTRO’s address is



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across the street from the location where BHPD recovered two

Apple Airtags that were in the Victims’ luggage.

      39.    Officers also learned through their investigation that

DE CASTRO is a Brazilian citizen living in the United States as

a legal permanent resident.

      H.     DE CASTRO Travels to Miami to Sell the DIAMOND
             NECKLACE and WATCH

      40.    Based on its investigation, BHPD identified and sought

records for a phone number and Instagram profile associated with

DE CASTRO.    Based on those records, I am aware of the following

facts.

      41.    On or about May 12, 2023, DE CASTRO traveled to the

Miami area.    On May 17, 2023, at approximately 9:15 p.m. Eastern

Time, DE CASTRO sent an Instagram message to Instagram user

diamondbancaventura (“Diamond Banc”).        In the message, DE CASTRO

said he saw Diamond Banc’s ad on Instagram and he wanted to sell

a “40 ct” necklace.

      42.    On May 18, 2023, at approximately 10:21 a.m. Eastern

Time, Diamond Banc asked for images and paperwork.          In response,

DE CASTRO sent photographs of a diamond necklace and watch.

//

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        43.   I have compared the photograph of the diamond necklace

sent by DE CASTRO with the photograph of the DIAMOND NECKLACE

provided by Victims’ attorney to the BHPD, and they appear to be

the same.     I have compared the photograph of the diamond watch

sent by DE CASTRO with the photograph of the WATCH provided by

Victims’ attorney to the BHPD, and they also appear to be the

same.

        44.   DE CASTRO also told Diamond Banc that he was in South

Beach, that he wanted to sell the jewelry, and that he did not

have papers because his mother passed away and he had found the

necklace and watch in her safe box.         DE CASTRO also said that

the necklace was “40 ct” and he was hoping for “100k.”           Diamond

Banc responded with instructions to come to the business for an

inspection and said they would have to inspect the stones at the

business in order to provide an accurate quote.




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       45.   The same day, at approximated 10:47 a.m. Eastern Time,

DE CASTRO said he could leave for Diamond Banc now and would

arrive in about one hour.      He also asked whether Diamond Banc

pays by cash or by Zelle, and Diamond Banc responded that

payment would be made by wire transfer or check.          Diamond Banc

also said the wire could hit the same day if DE CASTRO came by 2

p.m.

       46.   At approximately 11:47 a.m. Eastern Time, DE CASTRO

sent a screenshot of an Uber ride, which showed he was heading

to Diamond Banc Aventura’s location, and the expected drop off

time was 12:21 p.m. Eastern Time.       DE CASTRO also provided his

name as Jobs Marangoni.      Later that same day, May 18, 2023,

Diamond Banc wired DE CASTRO $50,000.

       47.   On the following day, May 19, 2023, Diamond Banc sent

DE CASTRO an Instagram message asking, “Did you get the wire?”

DE CASTRO responded, “Good morning. I did. Thank you so much. I

will definitely recommend. I’m very happy.”

       I.    BHPD Discovers DE CASTRO is a Suspect in a Related
             Theft at the Beverly Wilshire Hotel

       48.   During the course of its investigation, BHPD learned

DE CASTRO was the subject of another burglary and theft

investigation, which had occurred at the Beverly Wilshire Hotel

(“the BEVERLY WILSHIRE”).      The BEVERLY WILSHIRE is a hotel

located at 9500 Wilshire Boulevard, Beverly Hills, CA 90212.

       49.   I learned the following facts from investigative

reports of the burglary and theft at the BEVERLY WILSHIRE.           On

Thursday, April 27, 2023, a male with initials D.F. and his wife




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with initials O.F. were guests at the BEVERLY WILSHIRE, where

they were checked in as the sole guests in Room 589. During

their stay, D.F. and O.F. visited the hotel pool and met a man

later identified as DE CASTRO.

      50.   On April 28, 2023, at approximately 12:00 p.m., D.F.

saw DE CASTRO again at the hotel pool.        D.F. started a

conversation with DE CASTRO and introduced himself.          DE CASTRO

introduced himself as “Brazil Jobs” from Brazil.          During their

conversation, D.F. and DE CASTRO exchanged phone numbers and

Instagram profiles.     D.F. also informed DE CASTRO that he was

staying in Room 589.

      51.   Later that day, at approximately 6:36 p.m., DE CASTRO

asked D.F. about his plans for the night.         D.F. replied that he

had dinner reservations at 7:30 p.m. at a restaurant at a

different hotel in Los Angeles, California.         DE CASTRO told D.F.

that he also had dinner reservations for 8:30 p.m. at the same

restaurant.    DE CASTRO advised D.F. not to wear his jewelry at

the restaurant and that his jewelry would be safe at the hotel.

D.F. thought this advice was odd because he believed the

restaurant to be a safe location to wear jewelry, and wondered

why “Brazil Jobs” would be concerned about D.F.’s jewelry.

      52.   At approximately 7:05 p.m., D.F. and O.F. left their

hotel for dinner.     Inside the hotel room safe, they locked their

passports, O.F.’s U.S. Visa, jewelry, and cash.          Additionally,

D.F. and O.F. had some of their clothing and other belongings in

the closet, while the remainder of their clothing and other

belongings where in several bags inside of the room.



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        53.   Based on surveillance video footage from the BEVERLY

WILSHIRE, I am aware of the following facts.         At approximately

6:32 p.m., DE CASTRO was at the front desk obtaining a key to

D.F. and O.F’s hotel room.      At approximately 7:33 p.m., DE

CASTRO, stood in the hotel lobby area and then left the lobby

area.    At approximately 8:00 p.m., DE CASTRO walked back through

the hotel lobby carrying luggage belonging to D.F. and O.F.

        54.   I have compared the surveillance images from the

BEVERLY WILSHIRE with the surveillance images from the PENINSULA

HOTEL and DE CASTRO’s CA DMV photograph, and the photographs of

DE CASTRO appear to match.

        55.   Later that same evening on April 28, 2023, D.F. and

O.F. returned to the BEVERLY WILSHIRE.        Upon entering their

hotel room, they discovered that both the closet and safe were

opened and empty, and all of their belongings in the closet and

safe were missing from the room, along with multiple bags of

their clothing and possessions.       All of the items were presumed

to be stolen and D.F. notified hotel staff, who notified the

BHPD.

        56.   D.F. and O.F. conducted an inventory of the stolen

items which included approximately $36,000 of jewelry, designer

clothing, suitcases, their passports, O.F.’s U.S. Visa, and

$3,000 in cash.

        57.   D.F. believed that DE CASTRO, who had introduced

himself as “Brazil Jobs,” may have committed the burglary.           D.F.

described DE CASTRO and provided the BHPD with a cell phone




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picture that he took at the BEVERLY WILSHIRE pool which showed

the back of “Brazil Jobs” in the background.

      58.   On July 6, 2023, law enforcement conducted a

photographic line-up with D.F.       The line-up included DE CASTRO’s

CA DMV photograph.     D.F. positively identified DE CASTRO as the

person whom he met at the BEVERLY WILSHIRE pool that went by the

name “Brazil Jobs.”

         V. TRAINING AND EXPERIENCE REGARDING THEFT CRIMES

      59.   Based on my training and experience and information

obtained from other law enforcement officers who investigate

theft offenses, I know the following:

            a.   It is common practice for individuals involved in

theft and fraud crimes to possess and use multiple digital

devices at once.     Such digital devices are often used to

facilitate, conduct, and track fraudulent transactions and

theft.   Suspects often use digital devices to perpetrate their

crimes due to the relative anonymity gained by conducting

financial transactions electronically or over the internet.

They often employ digital devices for the purposes, among

others, of: (1) keeping records of their crimes; (2) researching

victims; (3) researching the value of stolen goods; and (4)

researching ways to sell stolen goods.

            b.   Oftentimes perpetrators of theft and fraud

offenses take pictures of stolen goods and victims with their

cellphones.

            c.   It is also common for perpetrators of theft and

fraud offenses to keep “profiles” of victims on digital devices.


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Such “profiles” contain the personal identifying information of

victims, such as names, Social Security numbers, dates of birth,

driver’s license or state identification numbers, alien

registration numbers, passport numbers, and employer or taxpayer

identification numbers.      Perpetrators of theft and fraud

offenses often keep such information in their cars, storage

units, and in their digital devices.

            d.   Based on my training and experience, I know that

individuals who participate in theft and fraud offenses often

have co-conspirators, and often maintain telephone numbers,

email addresses, and other contact information and

communications involving their co-conspirators in order to

conduct their business.      Oftentimes, they do so on their digital

devices.    Suspects often use their digital devices to

communicate with co-conspirators by phone, text, email, and

social media, including sending photos.        Suspects may also have

paper copies of such records, which they may keep on their

person or in their cars, homes, or storage units.

            VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES1

      60.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

      1As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.



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know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.



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            c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      61.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.



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            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      62.   The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

            a.   Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

            b.   In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an




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enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

      63.   Thus, the warrant I am applying for would permit law

enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress DE CASTRO’s thumb and/or fingers on the

device(s); and (2) hold the device(s) in front of DE CASTRO’s

face with his or her eyes open to activate the facial-, iris-,

and/or retina-recognition feature.

      64.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                  VII. REQUEST FOR NIGHTTIME SEARCH

      65.   DE CASTRO is expected to take a flight from London to

Los Angeles on August 21, 2023, and is expected to land at Los

Angeles International Airport (LAX) at 10:10 p.m., Pacific Time.

It is likely that DE CASTRO will attempt to destroy evidence or

flee if he becomes aware of this search warrant and Complaint

after he lands.    As a result, I request a warrant authorizing a

nighttime search so law enforcement officers can search DE

CASTRO shortly after he lands at LAX at 10:10 p.m.

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                          VIII.       CONCLUSION

      66.   For all the reasons described above, there is probable

cause to believe that Jobson Marangoni DE CASTRO has committed a

violation of 18 U.S.C. § 2314: Interstate Transportation of

Stolen Property.

      67.   Further, there is probable cause to believe that the

items listed in Attachment B, which constitute evidence, fruits,

and instrumentalities of violations of the Subject Offense will

be found on DE CASTRO, as described in Attachment A.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 21st day of
August 2023.



HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




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